
410 S.E.2d 55 (1991)
330 N.C. 188
STATE of North Carolina
v.
Michael Leon WASHINGTON.
No. 244A91.
Supreme Court of North Carolina.
November 7, 1991.
*56 Lacy H. Thornburg, Atty. Gen. by Teresa L. White, Asst. Atty. Gen., Raleigh, for the State.
Isabel Scott Day, Public Defender by Allen W. Boyer, Asst. Public Defender, Charlotte, for defendant-appellant.
PER CURIAM.
Defendant was convicted of felonious possession of cocaine with intent to sell, in violation of N.C.G.S. § 90-95, and sentenced to a prison term of three years. A majority of the Court of Appeals panel concluded the trial court did not err in admitting certain statements made by defendant to law enforcement officers shortly before his arrest. Judge Greene, dissenting, concluded that these statements should have been excluded because they were taken in violation of Miranda v. Arizona, 384 U.S. 436, 86 S.Ct. 1602, 16 L.Ed.2d 694 (1966). Judge Greene further concluded that because of the erroneous admission of these statements, defendant was entitled to a new trial.
For the reasons stated in Judge Greene's dissenting opinion, the decision of the Court of Appeals is reversed; defendant's conviction is vacated; and the case is remanded to the Court of Appeals for further remand to the Superior Court, Mecklenburg County, for a new trial or for such other further proceedings as are not inconsistent with this decision.
REVERSED AND REMANDED.
